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                                                                                                   United States Bankruptcy Court
                                                                                                       Southern District of Texas

                                                                                                          ENTERED
                         IN THE UNITED STATES BANKRUPTCY COURT                                            June 11, 2024
                               SOUTHERN DISTRICT OF TEXAS                                              Nathan Ochsner, Clerk
                                    HOUSTON DIVISION

                                                               )
    In re:                                                     )       Chapter 11
                                                               )
    GALLERIA 2425 OWNER, LLC,                                  )
                                                               )       Case No. 23-34815
                             Debtor.                           )
                                                               )

      ORDER GRANTING IN PART MOTION OF THE TRUSTEE FOR PROTECTIVE
       ORDER, OR IN THE ALTERNAITVE, TO QUASH, AND RELATED RELIEF
                               (ECF No. 467)
         Before the Court is the Emergency Motion of the Trustee for Protective Order, or in the

Alternative, to Quash, and Related Relief (the “Motion”).1 In the Motion, the Trustee requested, the

entry of an order (a) providing that the deposition noticed by 2425 WL LLC for June 13, 2024, not

be taken and (b) requiring 2425 WL LLC and its attorneys pay the expenses incurred by the estate

in connection with the Motion after notice and the opportunity for a hearing. The Trustee requested

that a hearing on whether 2425 WL LLC and its attorneys be required to pay expenses, and if so,

the amount of such expenses be set at a later date. The Court, having considered the Motion and the

entire record in the above-captioned case finds that the Motion should be GRANTED IN PART

and the remaining issues be set for hearing as set out in this Order.

             NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED

THAT:

             1.    The Proposed Deposition of the Trustee scheduled for June 13, 2024, shall not be

taken.




1
    All capitalized terms used but not defined herein shall have the same meaning ascribed to them in the Motion.

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       2.      2425 WL LLC, any person controlling 2425 WL LLC, and any entities under

common control with 2425 WL LLC shall re-notice any other deposition of the Trustee only after

meaningful attempts to confer as to a mutually agreeable date for such deposition. To the extent a

date cannot be agreed upon, any deposition noticed by such entities must provide for reasonable

notice under the circumstances.

       3.      An evidentiary hearing on the remaining relief requested in the Motion shall be

held on June 17, 2024 at 9:00 am..




                  June 11,04,
                    April  2024
                              2018
                                              UNITED STATES BANKRUPTCY JUDGE




Proposed Order Submitted By:

/s/R. J. Shannon                   .
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